                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In re: JEREMY A. BRAY                          )           Case No.: 18-82940-CRJ-12
       SSN: xxx-xx-8166                        )
                                               )
                                               )
               Debtor.                         )           CHAPTER 12

      SECOND MOTION FOR APPROVAL OF INTERIM PROFESSIONAL FEES
           AND EXPENSES FOR CHAPTER 12 DEBTOR’S ATTORNEY

       COMES NOW the duly appointed and acting Debtor in the above styled Chapter 12 case,
and shows the Court as follows:

                                    General Background

       1.     On October 2, 2018, the Debtor commenced with this Court a voluntary case
under Chapter 12 of Title 11, United States Code (the "Bankruptcy Code").

        2.     On November 8, 2018, this Court approved the employment of Sparkman,
Shepard & Morris, P.C. as Debtor’s counsel (the “Approval Order”). That day, this Court also
entered an Order approving the Debtor’s Motion to allow its attorneys to send monthly notices of
attorney’s fees and expenses incurred (the “Monthly Fee Notices”) to the Debtor’s 20 largest
unsecured creditors, all parties requesting notice, the Bankruptcy Administrator (the “Notice
Parties”).

        3.     The Approval Order also orders the Debtor’s counsel to file with the Court,
beginning on January 2, 2019, and serve upon the Notice Parties not more than once every 90
days an interim application for allowance of compensation and reimbursement of expenses,
pursuant to 11 U.S.C. §331, of the amounts sought in the Monthly Fee Notices filed during such
period (the “Interim Fee Application”). The Interim Fee Application must include a summary of
the Monthly Fee Notices that are the subject of the request and any other information requested
by the Court or required by the Local Rules.

                                       Relief Requested

       4.      The said professional currently employed by the Debtor has previously served
Monthly Fee Notices for the months of January, February, March and April 2019, with balances
due on each as shown below:

January 2019          Compensation: $3,214.00 (0% paid) / Expenses: $50.00 (0% paid)
                      Total: $3,264.00
                      Date of Notice: February 5, 2019




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                     Amount of fees unpaid and to be satisfied by Debtor after Court approval
                     of this present application: $3,264.00

February 2019        Compensation: $1,060.00 (0% paid) / Expenses: $14.00 (0% paid)
                     Total: $1,074.00
                     Date of Notice: March 1, 2019
                     Amount of fees unpaid and to be satisfied by Debtor after Court approval
                     of this present application: $1,074.00

March 2019           Compensation: $1,022.00 (0% paid) / Expenses: $14.50 (0% paid)
                     Total: $1,036.50
                     Date of Notice: April 1, 2019
                     Amount of fees unpaid and to be satisfied by Debtor after Court approval
                     of this present application: $1,036.50

April 2019           Compensation: $902.00 (0% paid) / Expenses: $14.50 (0% paid)
                     Total: $916.50
                     Date of Notice: May 6, 2019
                     Amount of fees unpaid and to be satisfied by Debtor after Court approval
                     of this present application: $916.50

      5.      No agreement exists between the attorney and any other person or entity
whatsoever for the sharing of compensation or expenses in this case.

      6.     This application is brought under the provisions of Sections 327, 328, 330, 331 of
the United States Bankruptcy Code and Rule 2016 of the Federal Rules of Bankruptcy
Procedure.

         WHEREFORE, the Debtor requests that the Court: enter an Order approving such
compensation and expenses and authorizing the Debtor to pay same; and grant other and further
relief as the Court deems just and proper.

       Respectfully submitted this the 14th day of May, 2019.



                                        /s/ Tazewell T. Shepard
                                        Tazewell T. Shepard III
                                        Tazewell T. Shepard IV
                                        Attorneys to Debtor-in-Possession

                                        SPARKMAN, SHEPARD & MORRIS, P.C.
                                        P. O. Box 19045
                                        Huntsville, AL 35804
                                        Tel: (256) 512-9924
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                              CERTIFICATE OF SERVICE

        This is to certify that I have this the 14th day of May, 2019 served the foregoing
document upon the Debtor’s 20 largest unsecured creditors, Richard Blythe, Office of the
Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602 all persons requesting notice and
the following listed persons by electronic service through the Court’s CM/ECF system and/or by
depositing said copies in the United States Mail in properly addressed envelopes with adequate
postage thereon:


                                       /s/ Tazewell T. Shepard
                                       Tazewell T. Shepard




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